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 DEFENDANT:       DaVita Inc.

 AGE/YOB:         N/A

 COMPLAINT        ______ Yes      __X___ No
 FILED?
                  If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                 __ Yes    __ No


 OFFENSE(S):      Count 1: Conspiracy in Restraint of Trade to Allocate Employees
                  (15 U.S.C. § 1)

                  Count 2: Conspiracy in Restraint of Trade to Allocate Employees
                  (15 U.S.C. § 1)

                  Count 3: Conspiracy in Restraint of Trade to Allocate Employees
                  (15 U.S.C. § 1)

 LOCATION OF      State and District of Colorado and elsewhere
 OFFENSE:

 PENALTY:         Count 1: Fine equal to greatest of $100 million or twice the gross
                  gain or twice the gross loss

                  Term of probation of at least 1 year, but not more than 5 years

                  $400 special assessment

                  Count 2: Fine equal to greatest of $100 million or twice the gross
                  gain or twice the gross loss

                  Term of probation of at least 1 year, but not more than 5 years

                  $400 special assessment

                  Count 3: Fine equal to greatest of $100 million or twice the gross
                  gain or twice the gross loss

                  Term of probation of at least 1 year, but not more than 5 years

                  $400 special assessment

 AGENT:           Matthew Hamel
                  FBI

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 AUTHORIZED          Anthony W. Mariano
 BY:                 Trial Attorney
                     U.S. Department of Justice, Antitrust Division

ESTIMATED TIME OF TRIAL:

    five days or less; _X__ over five days

THE GOVERNMENT

   will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])

The statutory presumption of detention is not applicable to this defendant.




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